
This was a motion made by the appellee against the appellant, and P. I), and I. L., in the County Court, for judgment on a replevy bond, given by the said Hudson P. D. and I. L. to Morris.
The Court gave judgment for the plaintiff, and Hudson having filed a bill of exceptions; appealed to the District Court of Charlottsville. The bill states “ that the original suit was commenced against P. D., for whom the said Hudson became appearance bail, but gave no bond; and a conditional judgment was entered, and writ of equiry thereupon executed against P. Jj. only. That aji.fa. issued against the said P. D. and the said Hudson, upon which this replevy bond was taken.—th'at P. D. afterwards obtained an injunction, which was dissolved for part of the sum, on which Morris afterwards sued out a ca. sa. against the body of P. D. only, which was returned “ executed and imprisoned—-the defendant Hudson therefore objected to a judgment being rendered against him on this motion, it appearing from the replevy bond, that th ji.fa. issued against him; as well as P. D., though he, the said defendant, was no party to the original suit; and because it appeared by the return of the ca. sa. against P. D., that he was in custody.”
The District Court affirmed the judgment of the County Court, from which an appeal was granted to this Court.
The appellant did not appear at the trial in this Court, and the Court having considered the record,
Affirmed the judgment,
